Case: 1:17-md-02804-DAP Doc #: 2384-12 Filed: 08/14/19 1 of 60. PageID #: 391759




               EXHIBIT 112

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          Case: 1:17-md-02804-DAP Doc #: 2384-12 Filed: 08/14/19 2 of 60. PageID #: 391760
                                                                                            P.01    *
 *                                      TRANSACTION REPORT                                          *
 *                                    -------                             SEP-14-2007 FRI 10:41 AM *
**          FOR : RX REPACK AND RETURNS        5012732809
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                                  Wal-Mart Pharmacy·DC 6045
                                                           J

                                         1201 Moberly Lane

                                        Bentonville, AR 72716

           Please deliver the following pages to:
                                   !
           Name: DEA Agent Carolyn Adams

           Phone# (501) 217-6500 Fax# (501) 217-6596 -.

           From: Jimmie D. Sheri Loss Prevention Manager DC 6045

           Total number of pages: 2
           (Including the title page)

           Date: September 14, 2007

           If you do not receive all pages, please call:



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CON Fl DENTIAL                                                                      WMT MDL 000044441
      Case: 1:17-md-02804-DAP Doc #: 2384-12 Filed: 08/14/19 3 of 60. PageID #: 391761




                                Wal-Mart Pharmacy DC 6045

                                      1201 Moberly Lane

                                    Bentonville, AR 72716

         Please deliver the following pages to:

         Name: DEA Agent Carolyn Adams

         Phone# (501) 217-6500 Fax# (501) 217-6596

         From: Jimmie D. Sheri Loss Prevention Manager DC 6045

         Total number of pages: 2
         (Including the title page)

         Date: September 14, 2007

         If you do not receive all pages, please call:

          Phone# (479) 273-7588 or (479) 273-7590

          Fax# (479) 273-2809

         Comments: September review of the August 2007 ordering practices of
         Wal-Mart Pharmacies.

                                  (Wal-Mart Confidential)




CONFIDENTIAL                                                             WMT _MDL_000044442
           Case: 1:17-md-02804-DAP Doc #: 2384-12 Filed: 08/14/19 4 of 60. PageID #: 391762



                                                                      WAL- MART STORES, INC.



    WAL*MART.                                                         Mike Mullin
                                                                      GENERAL MANAGER DC 6045
                                                                      1201 SOUTH MOBERLY LANE
                                                                      BENTONVILLE, AR 72716
                                                                      (479) 273-7588

  To:         United States Department of Justice
              Drug Enforcement Administration
              Carolyn B. Adams
              Diversion Group Supervisor
              Little Rock District Office

  From :      Mike Mullin

  Subject:    Drug Diversion Review

  Date:       09/14/07

                rev ew o t e or er ng practice o      a - art armac es or contra e su stances


    □
              was reviewed for the past month and there was no indication of any excessive orders
             ·or practices that would l"ndlc~te diversion:                .

  Pharmacies with monthly orders that are high when compared to the other Wal-Mart Pharmacies
  for the same product:

     Store #   6228       Address
       Item OxycodoneSMG SLN 500 NDC#        00406855550       # Ord 14 Bottles of 500 SLN
  Comments These 14 bottles accounted for 5.25% of Total RX ordered for the Month of August.
             The next highest store was 1 bottle @ 2.12% total RX.

     Store#   3326
       Item Oxyco/Apap 5/325 500
  Comments These 16 bottles ac ounted for 11 .18% of Total RX ordered for the Month of August.
            The next highest ·s tore was 3 bottles @ 4.01 % total··RX.·

        Store #             Address                      City                          State
          Item____                    NDC# _ _ _ _ _ _ _ #Ord


              --------------------------------------
 ·Comments---------                                                  ------------



  Additional Information:




                                         "Confidential Business Record"




CONFIDENTIAL                                                                                        WMT_MDL_000044443
•             RUN ON 09/02/07 AT 03: 56:25
                                           Case: 1:17-md-02804-DAP Doc #: 2384-12 Filed: 08/14/19 5 of 60. PageID #: 391763
                                                                     w A L - · M A R T s T 0 . R E S, I N C.                             REPORT ~JO .    SD405-1                          •
•             FOR  PERIOD ENDING 08/31/07                         CONTROL DRUG STOCK E>:CEPTIOI~ REPORT .BY ITEM
                                                                             WAREHOUSE 06045 --   llENTONVILLE, AR
                                                                                                                          QUANTITY
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                                    Case: 1:17-md-02804-DAP Doc #: 2384-12 Filed: 08/14/19 6 of 60. PageID #: 391764
                                    0 3 : 56:25                        ~J A L ''" M A R T S T O R E S, I N C,                   REPORT t~O.    SD40I46
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•         FOR   PERI OD ENDING 08/31/07                             CONTROL DRUG STOCK EXCEPT ION REPORT BY ITEM
                                                                             WAREHOUSE 06045 - BENTONVILLE, AR
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           RUN ON 09/02/07 AT 03:56:25                           w A L - M A R T s T 0 R E S,      I NC.                       REPORT NO .     S0405-1                    •
•          FOR    PERIOD ENDING 0 8/31/07                     CONTROL DR UG STOCK EX CE PTION REPORT BY ITEM
                                                                      WAREHOUSE 0 604 5 - BENTONVILLE, AR
                                                                                                                  QUANTITY
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           FOR    PERIOD ENDING 08/3 1/07                       CONTROL -DRUG STOCK EXCEPTION REP ORT BY ITEM
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          RUN ON 09/02/07 AT 03 : 56:25                         W A L -   M A R T   S T O R E S,   I N C                            REPORT NO.    5D405·-1
                                                                                                                                    PAGE-NO              t43
•         FOR PERIOD ENDING 08/31/07


     ITEM NO.    ITEM DESCRIPTION         SIZE   RANK
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.
          RUN ON 09/02 / 07 AT 03:56:25                         WAL - MART STORES,             INC .                      REPORT NO.   8D40~-1

•         FOR PERIOD ENDING 08/31/07                         CONTROL DRUG STOCK EXCEPTION REPORT BY ITEM
                                                                     WAREHOUSE 06045 - BENTONVILLE, AR .
                                                                                                             QUANTITY
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                                                                                                                        STORE TOTAL
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                       09/ 02/07 AT 03 : 56:25                         w A L - M A R T S T O R E S,    I N C.                        REPORT NO . S0405- 1
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             FOR     PER I OD ENDING 08 / 3 1i0 7                   CONTROL DRUG STOCK EXCEPTION REPORT BY ITEM
                                                                            WAREHOUSE 0604 5 - BENTONVILLE , AR
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               ON 09/02/07 AT 03 : 56:25                           w     M A R T s T 0 R E S,
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                                                                      WAREHO USE 0604 5 -   BENTONVILLE, AR
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            RUN ON 09/02/07 AT 03:S6c25                       W A L - M A R T S T O R E S,   I N C.                     REPORT MD.     S0405-1
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            FOR PERIOD ENDI NG 08/31/07                   CCJNTROL DRUG STOCK EXCEPTION REPORT BY ITEM
                                                                   WAREHOUSE 06045 - BENTONVILLE, AR
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          RUrJ ON 09/02/07 AT 03: 56: 2 5                       WAL - MART STOR ES,            l NC.                     REP ORT NO.   5D405-1

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          FOR   PERIOD ENDING 08/31/07                       CONTROL DRUG STOCK EXCEPTION REPORT DY I TEM                PAGE-NO.          149
                                                                     WAREHOUSE 06045 - BENTONVILLE, AR
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     ITEM NO.   ITEM DESCRIPTION            SCZE   RANK    STORE      DEA REG.   LOCATION         DISTRICT    PICKED       PICKED      TOTAL
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                               Case: 1:17-md-02804-DAP Doc #: 2384-12 Filed: 08/14/19 16 of 60. PageID #: 391774
           RUN ON 09/02/07 AT 03 : 56:2S                        w A L - M A R T S T O A E S,   I N C.                     REPORT NO.   50405-1                    •
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           FOR    PERIOD ENDING 08/31/07                     CONTROL DRUG STOCK EXCEPTION REPORT BY ITEM                  PAGE-NO .        150
                                                                     WAREHOUSE 06045 - BENTONVILLE, AR                                                            ii
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          RUN ON 09/02 / 07 AT 03 : 56 : 25                      W A L - M A R T s T 0 R E S,   I N C.                         REPORT NO. SD405- 1
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          FOR  PERIOD ENDING 08/31/07                         CONTROL DRUG STOCK EXCEPTION REPORT BY ITEM
                                                                      WAREHOUSE 06045 - BENTONVILLE, AR
                                                                                                                  GUANTJTY
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                                   Case: 1:17-md-02804-DAP Doc #: 2384-12 Filed: 08/14/19 18 of 60. PageID #: 391776
           RUN ON 0 9 /02 / 07 AT 03:56:25                      iJ A L - M A R T  S T O R E S,   I N C.                      REPORT NO.           SD40S-1                    •
           FOR  PERIOD ENDING 08 / 31 / 07                   CONTROL DRUG STOCt, EXC EPTION REPORT BY ITEM
                                                                      WAREHOUSE 06045 - BENTONVI LLE, AR
                                                                                                              QUANTITY
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                                   Case: 1:17-md-02804-DAP Doc #: 2384-12 Filed: 08/14/19 19 of 60. PageID #: 391777
•            RUN ON 09/02/07 AT 03:56:25                          w A L - M A R T S T 0 R E S, I N C.
                                                               CONTROL DRUG STOCK EXCEPTION REPORT BY ITEM
                                                                                                                              REPORT NO.
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             FOR PERIOD ENDING 08/31/07
                                                                       ~JAREHOUSE 06045 - BENTONVILLE , AR                                                              ~
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·•                              Case: 1:17-md-02804-DAP Doc #: 2384-12 Filed: 08/14/19 20 of 60. PageID #: 391778
            RUN ON 09/02/07 AT 03S6 : 25                       W A L - M A R T S T O R E S,      I N C.                   REPORT NO       S040S-l                    •
•           FOR   PER IOD ENDING 0 8/31/07                  CONTROL DRUG S'fOCK. EXCEP TION REPORT BY ITEM
                                                                    WAREHOUSE 06045 - BENTONVILLE, AR
                                                                                                              GVANTITY
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                                                                                                                         STORE TOTAL      PCT OF
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          RUN ON 09/02 / 07 AT 03 : 56 : 25                          WA L - M A R T   S T O R E S,   1 N C.                       REPORT NO.    8D405-1                    •
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          FOR   PERIOD ENDING 08/31/07                        CONTROL DRUG STOCK EXCEPTION REPORT BY ITEM
                                                                      WAREHOUSE 06045 - BEiJTONVILLE, AR
                                                                                                                     QUANTITY
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            RUN ON 09/02/0 7 AT 03 : 56 : 25                     W A L - M A R T S T ORES,        l NC.                         REPORT NO.      SD405- 1                   •
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            FOR    PERIOD ENDING 08/31 / 07                   CONTROL DRUG STOCK EXCEPTION REP ORT BY I TEM
                                                                      WAREHOUSE 06045 - BENTONV I LLE, AR
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                                 Case: 1:17-md-02804-DAP Doc #: 2384-12 Filed: 08/14/19 23 of 60. PageID #: 391781
            RUN ON 09/02/07 AT 03 : 56:25                      W A L -_ M A R T S T O R E S,   I N C.                    REPORT NO .     6D405-1                    •
•
            FDR PERIOD ENDING 08/31/07                      CONTROL DRUG STOCK EXCEPTION REPORT BY ITEM
                                                                    WAREHOUSE 0604 5 - BENTONVILLE, AR
                                                                                                            QUANTITY
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                                     Case: 1:17-md-02804-DAP Doc #: 2384-12 Filed: 08/14/19 24 of 60. PageID #: 391782
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             RiJN ON o·n0';.:/ 07 AT 03: S6 25                     WAL - MART STORES,             INC                      REPORT NO. SD405-1
             FOR    PER I OD ENDING 08/31 / 07                  CONTROL DRUG STOCK EXCEPTION REPORT BY ITEM
                                                                        WAREHOUSE 06045 - BENTONVILLE, AR
                                                                                                               QUANTITY
                                                                                                                           PAGE-NO.

                                                                                                                          STORE TOTAL
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                                 Case: 1:17-md-02804-DAP Doc #: 2384-12 Filed: 08/14/19 25 of 60. PageID #: 391783
          RUN ON 09/02 /07 AT 03:56:25                           W A L - M A R T S T 0 R E S,   I N C.                       REPORT NO. S04 05-1                     •
•
          FOR    PERlOD ENDING 08/31 /07-                     CONTROL DRUG STOCK EXCEPTION REPORT BY ITEM
                                                                      WAREHOUSE 06045 - BENTONVILLE , AR
                                                                                                              QUANTITY
                                                                                                                             PAGE-NO.

                                                                                                                           STORE TOTAL
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     ITEM NO.

    003880481
                 ITEM DESCRIPTION
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                                 Case: 1:17-md-02804-DAP Doc #: 2384-12 Filed: 08/14/19 26 of 60. PageID #: 391784
          RUN ON 09/02/07 AT 03: 56 : 2S                     WAL - MART STORE 5,              l NC.                        REPORT NO. SD40S-1
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          FOR PERIOD ENDING 08/3 1 /07                    CONTROL DRUG STOCK EXCEPTION REPORT BY ITEM
                                                                  WAREHOUSE 0 6 045 - BENTONVILLE, AR
                                                                                                             QUANTITY
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     ITEM NO.

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                                  Case: 1:17-md-02804-DAP Doc #: 2384-12 Filed: 08/14/19 27 of 60. PageID #: 391785
          RUN ON 09/02/07 AT 03 : 56 : 25                       W A L - t1 A R T S T D R E S , I N C.                       REPORT NO.   8D405-1                            •
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          FOR PERIOD ENDING 08/31/07                         CONTROL DRUG STOCK EXCEPTION REPORT BY ITEM
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                                                                                                             QUANTITY
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                                    Case: 1:17-md-02804-DAP Doc #: 2384-12 Filed: 08/14/19 28 of 60. PageID #: 391786
                                     03: 56:25                     W A L ·- M A R T S T 0 R E S,   I N C                     REPORT   NO.   SD405-1                     •
  •            FOR     PERIOD ENDING 08/31/07                   CONTROL DR UG STOCK EXCEPTION REPORT 13Y ITEM
                                                                        WAREHOUSE 06045 - 13ENTONVILLE, AR
                                                                                                                 QUANTITY
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                                   Case: 1:17-md-02804-DAP Doc #: 2384-12 Filed: 08/14/19 29 of 60. PageID #: 391787
•           RUN m.i 09102107 AT 03: 56:25                      W A L - M A R T S T 0 R E S,     I N C.
                                                            CONTROL DRUG STDCr. EXCEPTION REPORT BY ITEM
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            FDR  PERIOD ENDING 08/31/07
                                                                    WAREHOUSE 06045 -- BENTDNV ILLE, AR                                                             Q
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                                      Case: 1:17-md-02804-DAP Doc #: 2384-12 Filed: 08/14/19 30 of 60. PageID #: 391788
               RUN ON 09/02/07 ,i:,T 03:56:25
               FOR PER10D ENDING 08/31i07
                                                                    W A L - M t, R T s T 0 R E S,  I NC
                                                                 CONTROL DRUG STOCK EXCEPTION REPORT DY ITEM
                                                                                                                             REPORT NO.
                                                                                                                             PAGE-NO.
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•                                                                        WAREHOUSE 06045 - BENTONVILLE, AR
                                                                                                                 GUANTITV   STORE TOTAL    PCT OF
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    003880538
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            RUN ON 09/02/07 AT 03: 56 : 25                      W A L - M A R T S T O R E S,    ] N C.                            REPORT ND.      5D405- 1                   •
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            FOR     PERIOD ENDING 08/31/07                   CONTROL DRUG STOCK EXCEPTION REPORT BY ITEM
                                                                     WAREHOUSE 060 45 - BENTONVILLE, AR
                                                                                                                     @ANTITY
                                                                                                                                 , PAGE- NO.

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             RUN ON 09/02/07 AT 03 : S62S                          wAL           S T 0 R E S,
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             FOR PERIOD ENDIN G 08/31/07                     CONTROL DRUG STOCK EX CE PTION REPORT BY I TEM                  PAGE-ND .       16b
,@                                                                   WAREHOUSE 06045 - BENTONVILLE, AR                                                               8
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       ITEM NO.     ITEM DESCRIPTION         SIZE   RANK   STORE    DEA REG.    LOCATION             DISTRICT    PICKED       PICKED      TOTAL

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•         RUN ON 09/02/07 AT 03: 56:25
          FOR PERIOD ENDING 08/31/07
                                                           WAL - MART STORES,             INC .
                                                        CONTROL DRUG STOCK EXCEPTION REPORT BY ITEM
                                                                                                                    REPORT NO.
                                                                                                                    PAGE-NO.
                                                                                                                                 S0405-1
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•                                                               WAREHOUSE 06045 - BENTONVILLE, AR
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     ITEM NO.

    003880566
                ITEM   DESCRIPTION

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           RUN ON 09/02/07 AT 0'.3 : 56:25                       w A L - M A R T s T 0 R E S,   I N C.                           REPORT ND .   SD405-1                    •
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           FOR PERIOD ENDING 08/31/07


      ITEM NO.    ITEM DESCRIPTION            SIZE   RANK
                                                              CONTROL DRUG STOCK EXCEPTION REPORT BY ITEM


                                                            STORE
                                                                      WAREHOUSE 06045 - BENTONVILLE , AR

                                                                     DEA REG.   LOCATION             DISTRICT
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CONFIDENTIAL                                                                                                                                              WMT_MDL- 000044473
•                                 Case: 1:17-md-02804-DAP Doc #: 2384-12 Filed: 08/14/19 35 of 60. PageID #: 391793
           RUN ON orU02 /07 AT 03 : 56:25                        W A L - M A R T S T 0 R E S,    r N C.                        REPORT NO .   S0405-1                    •
•          FOR PER IOO END ING 08 / 3 1 /07                   CONTROL DRUG STOC K EXCEPTION REPORT BY ITEM
                                                                      WAREHOUSE 06045 - BENTONVILLE , AR
                                                                                                                  QUANTITY
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     ITEM NO.

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              RUN ON 09/02/07 AT 03 : 56 : 25                        W A L - i'1 A R T S T 0 R E S, I N. C.                                 REPORT NO       SD40S-1                    •
•
              FOR PERIOD ENDING 08/31/07


                                                S I ZE   RANK
                                                                  CONTROL DRUG STOC~ EXCEPTION REPORT BY ITEM


                                                                STORE
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                                                                          DEA REG         LOCATION             DI S TRIC T
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                                Case: 1:17-md-02804-DAP Doc #: 2384-12 Filed: 08/14/19 37 of 60. PageID #: 391795
           RUN ON 09/02/07 AT 03:56 :25                          W A L - M A R T S T O R E S,   I N C.                        REPORT NO.    SD405-1                    •
•          FOR PERIOD ENDI NG 08/31/07                        CONTROL DRUG STOCK EXCEPTION REPORT BY ITEM
                                                                      WAREHOUSE 06045 - BENTONVILLE, AR
                                                                                                                 GUANTITY
                                                                                                                              PAGE-NO.

                                                                                                                             STORE TOTAL
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     ITEM ND.
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    003880628
                  ITEM DESCRIPTION
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                  OXYCOD/APAP10/32SMG
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                               Case: 1:17-md-02804-DAP Doc #: 2384-12 Filed: 08/14/19 38 of 60. PageID #: 391796
          RUN ON 09/02/0 7 AT 03: S6 : 25                     W A L - M A R T S T O R E S,    I N C.                        REPORT NO.     SD40S- 1                  •
•
          FOR  PER:iOD ENDING 08/31/07                     CONTROL DRUG STOCK EXCEPTION REPORT BY ITEM
                                                                   WAREHOUSE 06045 - BENTONVl LLE, AR
                                                                                                                GUANTITY
                                                                                                                            PAGE-NO.

                                                                                                                           STORE TOTAL
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     I TEM NO.

    003880635
                 ITEM DESCRIPTION
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                 OXYCODONE 15MG
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    003880636    MEP ERITAB 100MG           iOO     1    3788                                          145         300         79,223        . 38

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•            RUN ON 09/02/07
                                     Case: 1:17-md-02804-DAP Doc #: 2384-12 Filed: 08/14/19 39 of 60. PageID #: 391797
                                  AT 0'.3: 56: 25                      w A L - M A R . T s T 0 R E S, I N C.                            REPORT NO.        SD405·-1                     •
                                                                    CONTROL DRUG STOCK EXCEPTION REPORT BY ITEM
                                                                                                                                                                                       •
             FOR     PERIOD ENDING 08/31/07                                                                                             PAGE-NO               173
w)                                                                          WAREHOUSE 06045    -
                                                                                               BENTONVILLE, AR
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      ITEM NO.       ITEM DESCRIPTION               SIZE           STORE    DEA REG.    LOCATION               DISTRICT
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             RUN ON 09/02/0 7 AT 03:56:25                         WAL - MART S TORES,                 IN C                    R EPORT 1\10 .   S040 5-i
             VOR PERIOD ENDING 08/31/ 07                       CONTROL. DRUG ST0CV.. E XCEPT ION REPORT BY HEM
                                                                        WAREHOUSE 060 45 - BENTONVILLE, AR
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     003880657
                    ITEM DESCRIPTION
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                                                         7    0799                                        026         300       311, 961         . 10
                                                         8    1179                                        122         300       325,267          . 09
                                                         9    1646                                        281         200       218,038          . 09
                                                        10    2634                                        174         300       332, 658         . 09
                                                        11    0944                                        074         300       334 ,695         . 09
                                                        12    1588                                        1S4         3 00      352,146          . 09
                                                        13    2767                                        28 1        2 00      239 , 163        . 08
                                                        14    1788                                        174         300       373, 443         . 08
                                                        15    815 1                                       011         10 0      126 , 564        . OB
                                                        J.6   3659                                        081         200       261. 958         .   08
                                                        17    3347                                        283         200       274,888          .   07
                                                        18    1743                                        123         300       433,223          .   07
                                                        19    1741                                        098         300       445,696          .   07                     0
                                                       ;=20   2662                                        140         300       4S9,8S4          . 07
                                                       21     1380                                        067         200       316,843          . 06
                                                       22     B20•I                                       259         100       162, 153         . 06
                                                       23     8287                                        22 0        100       t 71. 43i        . 06



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CONFIDENTIAL                                                                                                                                                WMT_ MDL_000044479
•                                    Case: 1:17-md-02804-DAP Doc #: 2384-12 Filed: 08/14/19 41 of 60. PageID #: 391799
              RUN m~ 09/02/07 AT 03:56:25                         W A L - M A R T S T 0 R E 8,     I N C                            REPORT NO.       SD405-1
                                                                                                                                                         175
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              FOR     PERIOD ENDING 08/31/07                   CONTROL DRUG STOCK EXCEPTION REPORT BY ITEM                          PAGE-NO
                                                                       Wf\REHOUSE 060•l5 - BENTONVILLE, AR                                                                       ~
                                                                                                                        QUANTITY   STORE TOTAL       P CT Ot
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      ITEM NO.        ITEM DESCRIPTION         SIZE   RANK   S TORE    DEA REG .     L OCATION              DISTRIC T    P ICKED     P ICKED
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    003880707         PERCOCET 2 . 5 /32SMG    100      1     3 86 1                                           050          100        3 7 ,42 2       . 27


•                                                       2     2662                                             140          700       4 59,854         . 15
                                                        3     2000                                             137          300       253, 4 03        . 12                      iii
                                                        4     5329                                             269          200       17L 234          . 12
                                                        5     6314                                             222          100         99, 4 23       . 10


•                                                       6     1766                                             089          200       226,656          . 09
                                                        7     2819                                             180          200       282,086          . 07                      iii
                                                        8     2160                                             187          200       283, 204         . 07
                                                        9     0962                                             207          100       169,362          . 06
                                                                                                               096          200       345,816          . 06

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                                                       13     1717                                             119          100       201 , 525        . OS
                                                                                                                                      409,273

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                                                      20      2845                                             184          100       264 , 5 96       .   04
                                                      21      2723                                             148          100       274,943          .   04

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·-0-                               Case: 1:17-md-02804-DAP Doc #: 2384-12 Filed: 08/14/19 42 of 60. PageID #: 391800
                                                                                                                                                                      0
             RUN ON 09/02/07 AT 03: 56 : 25                     WAL-MAR            ~ T O R E S,  I N C.                   REPORT NO. SD405- 1
             FOR PERIOD END It-JG 08/31/07                   CONTROL DRUG S TOCK' E~CEPTION REPORT BY ITEM                PAGE- NO.
 0                                                                   WAREHOUSE 0 6045 - BENTONVILLE, AR
                                                                                                                                         176
                                                                                                                                                                      ,-',
                                                                                                              QUANTITY   STORE TOTAL      PCT OF
        ITEM NO.   ITEM DESCRIPTION           SIZE   RANK   STORE    DEA REG.    LOC ATION         DISTRICT    PICKED       PICKED        TOTAL
 0 - --·------     --------------------                              ---------                     --------   -------- -----·--- ---
       003880735   PERCDCET 7 . 5 / SOOMG     100      1    6371                                      224         200       116,485         . 17
                                                       2     1692                                     154         400       235,487         . 17
0                                                      3    3351                                      145         200       136, 902        . 15                      (       '
                                                       4    2915                                      208         200       183,057         . 11
                                                       5    4820                                      220         100       104, 640        . 10
                                                       6    5070                                      145         200       232,512         . 09
 0                                                     7    1783                                      088         3 00      369, 215        . 08                      0
                                                       8    2030                                      091         3 00      418, 261        . 07
                                                       9    2083                                      293         200       321,207         . 06
                                                      10    1306                                      291         300       477 , 827       . 06
0                                                     11    2128                                      121
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                                                      14    3599                                      031         100       214, 7 12       . 05
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                                                      16    1230                                      183         200
                                                      17    2253                                      238         100       231, 404        . 04
                                                      18    0729                                      115         200       507, 619        . 04
0                                                     19    1362                                      074         100       266,62 6        . 04                      0
                                                     20     2672                                      207         100       277, 554        . 04
                                                     21     2109                                      108         100       282,706         . 04
                                                     22     0764                                      148         100       301, 811        . 03
0                                                    23     2 9 62                                    063         100       3 05, 342       . 03                      0
       003880749   CONCERTA ER 18MG           100      1    5294                                      27 1        200         16,403       1. 22
                                                       2    1152                                      265         200         25, 031       . 80
0                                                      3    4354                                      282         100         20, 801       . 48                      0
                                                       4    3758                                      205         100         23,567        . 42
                                                       5    4990                                       011        100         30, 334       . 33
                                                       6    3806                                       075        100         31. 692       . 32
0                                                      7    6338                                       259        100         32, 919       . 30                      0
                                                       B    1806                                       280      1,000       3 57, 502       . 28
                                                       9    3861                                       050        100         37, 422       . 27
                                                      10    4409                                       126        300       120,6 11        . 25
0                                                     11    4 247                                      066        200         8 7 , 714     . 23                      0
                                                      12    3655                                       145        200         88, 571       . 23
                                                      13    5373                                       294        500       231. 560        .   22
                                                      14    6217                                       232        200         93,228        .   21
0                      ,'/                            15    3 400                                      131        100         49,885        .   20                    ,,
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                                                      16    3791                                       24 1       200         99, 728       .   20
                                                      17    6610                                       227        200       108,688         .   18
                                                      18    1907                                       153        400       226,578         .   18
0                                                     19    5038                                       131        200       1 16, 138       .   17                    ,,
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                                                     ·20    18 08                                      12'?       300       178, 849        .   17
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                                                      22    8192                                       011        100         63,568        .   16
0                                                     23    3516                                       238        100         65,467        .   l5                    0
       003880756   CONCERTA ER 36MG           100      1    5294                                       271        200        16,403        1. 22
                                                      2     4945                                       252        100        18,958         . 53
0                                                     3     4374                                       146        200        40, 667        . 49                      Q
                                                      4     8298                                       051        100        22,853         . 44
                                                       5    3758                                       205        100        23,567         . 42
                                                                                                                             73, 571        .   41

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                                                      6     5380                                       250        300
                                                      7     3400                                       131        200        49, 8 8 5      .   40                    c;.
                                                      8     5499                                       041        400       104, 153        .   38
                                                       9    2745                                       001      1,300       340,130         .   38
                                                     10     3541                                       098        400       115,685         .   35
0                                                    11     2561                                       177        600       175,976         .   34                    c;
                                                     12     4940                                       275        200        61,515         .   33
                                                     13     4 246                                      205        200        61,672         . 32
                                                     14     3806                                       075        100        3 1,692        . 32
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                                                                                                                            130, 889        . 31

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                                                     18     5110                                       024        400
                                                     19     6338                                       259        100        32, 919        . 30                      Q
                                                     20     379 1                                      241        300        99, 728        . 30
                                                     21     0867                                       165      1,200       414 , 7 19      . 29

•                                                    22     3S03                                       184      1,400       488, 373        . 29
                                                     23     2990                                       100        700       244, 382        . 29                      ~

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 CONFIDENTIAL                                                                                                                                                         •
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                                 Case: 1:17-md-02804-DAP Doc #: 2384-12 Filed: 08/14/19 43 of 60. PageID #: 391801
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          RUN ON 09/02/07 AT 03 : 56 : 25
          FOR PER IOD ENDI NG 08/31 / 07
                                                                 w A L - M A R T s T 0 R E s. I N C.
                                                              CONTROL DRUG STOCK EXCEPTION REPORT i3 'y ITEM
                                                                      WAREHOUSE 06045 - BENTONVILLE, AR
                                                                                                                                    REPORT NO. S D405- 1
                                                                                                                                    PAGE- NO.       177
                                                                                                                                                                                ~

                                                                                                                                                                                ii,
                                                                                                                       GUANTITY    STORE TOTAL      PCT    or
     ITEM ND.    I TEM DESCR I PTl ON       SiZE   RAt>IK   STORE     DEA RE G.    LOCATI ON              DISTRICT      PlCKED        P ICKED       TOTAL
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    003 880763   CONCERTA ER 54MG           100       1     5294                                             271          200          16,403        1. 22
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                                                      3     3758                                             205          100          2 3,567        . 42                      ~
                                                      4     3400                                             131          200          49, 8 85       . 40
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    0 03880770   DURAGESIC i OOMCG/HR       5         1     4817                                             257           12 0       193, 376        . 06
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                                                      B      5072                                            197            30        104, 9 5 3      . 03
                                                      9      0385                                            03 0           55        231, 162        . 02
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•   003880777    DURAGES IC   25MCG/HR      5
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CONFIDENTIAL
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                                  Case: 1:17-md-02804-DAP Doc #: 2384-12 Filed: 08/14/19 44 of 60. PageID #: 391802
           RUN ON 09/02/0 7 AT 0 3:56 : 25
           FOR PERIOD END I NG 08/ 3 1/07
                                                                     W A L. - M A R T S T D R E S,       I N C
                                                                  CONTROL DRUG S TOCK EXCEP TION REPORT BY ITEM
                                                                           WAREHOUSE 06045 - 13 ENTONV I LLE, AR
                                                                                                                                      REPORT MO.
                                                                                                                                      PAGE- NO.
                                                                                                                                                      S D405- l
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                                                                                                                     QUANTITY       STORE TOTAL       PCT OF

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      ITEM NO.   ITEM DESCRIPTION            SIZE   RAi'-JJ.i.   STORE   DEA REG   LOCATION               DISTRICT    PICl-(.ED        PICKED         TOTAL.
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     003880784   DURAGESI C   SOMCG/HR       5           l       5294                                       271             20          16,403          . 12
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                                                      17         5274                                        101          100          195, 197         . 05
                                                      1B         5342                                        050          100          220, !.84        . 05
8                                                     19         0586                                        070          200          456,067          . 04                    0
                                                      20         06S7                                        192          200          486,801          . 04
                                                      21         2314                                        101          100          274,003          . 04
                                                      22         6572                                        252          100          300,711          . 03
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8                                                     23          5236                                       115          100          312, 70';.'.     . 03




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                                    Case: 1:17-md-02804-DAP Doc #: 2384-12 Filed: 08/14/19 45 of 60. PageID #: 391803
•          RUN ON 09/02/07 AT 03 : 56:25
                PER 10D END Il'JG 08/31/07
                                                                W A L -- M A R T S T 0 R E S,   I N C
                                                             CONTROL DRUG STOCK EXCEPT ION REPORT BY ITEM
                                                                                                                               REPORT NO . 5D405- 1
                                                                                                                               PAGE-NO.        179
                                                                                                                                                                         ~



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           FOR
                                                                     WAREHOUSE 06045 -  BENTONVILLE, AR                                                                  ~
                                                                                                                C!UANT1TY STORE TOTAL         PCT OF

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      ITEM NO.    HEM DESCRIPTI ON
                  ·--------------------
                  HYDROMORPHOt.JE 2MG
                                             SIZE   RANK

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                                                           STORE

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                                                     16    0369                                         159           500       132,741         . 38
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                                                     16    4947                                         222           200        38, 5 05       . 52
                                                     17    4 7 77                                       233           300        59, 128        . S1
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                                                     20    4940                                         275           300        6 1 , 5 15     . 49
                                                     21    6431                                         273           300        61,704         . 49
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CONFIDENTIAL
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,.                                Case: 1:17-md-02804-DAP Doc #: 2384-12 Filed: 08/14/19 46 of 60. PageID #: 391804
           RUN ON 09/02/07 ,\T 03: 56:25
           FOR PERIOD ENDING 08/31/07
                                                             ~J A L - M A R T  S T 0 R E S,  I N C.
                                                          CONTROL DRUG STOCK EXCEPTION REPORT BY ITEM
                                                                                                                           REPORT NO. SD405-I
                                                                                                                           PAGE-NO.       180
                                                                                                                                                                   •
0                                                                  WAREHOUSE 06045 - BENTONVILLE, AR                                                               ~
                                                                                                             QUANTITY    STORE TOTAL    PCT OF


•
      ITEM NO.   ITEi·1 DESCRIPTION
     ----~---- --------------------
     003880854   METHYL IN 20MG
                                         SIZE

                                           100
                                                  RANK

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                                                         STORE

                                                         S294
                                                         6361
                                                                 DEA REG.   LOCATION
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                                                                                                  DISTRICT
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            RUN ON 09/02/07 AT 03: S6 : 2~-                          wA L -   f1 A R T   S T O R E S,   I N C                              REPORT !110 .   5D405-1                     •
•           FOR PERIOD END I NG 08/31/07                       CONTROL DRUG STOCK EXCEPTION REPOR T BY ITEM
                                                                       WAREHOUSE 06045 - BENTONVILLE, AR
                                                                                                                             QUANTITY
                                                                                                                                           PAGE-NO .

                                                                                                                                          STORE TOTAL
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      ITEM NO .

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           RUN ON 09/ 02/07 AT 03 : 56 : 25                        W A L - M A R T ~ T O R E S,    I N C.                          REPORT NO. SD40 5-i
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           FOR PERIOD ENDING 08/31/07                           CONTROL DRUG STOCK E~GEPT!ON REPORT BY ITEM
                                                                        WAREHOUSE 0 6045 _ BENTONVILLE, AR
                                                                                                                    QUANTITY
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CONFIDENTIAL                                                                                                                                               WMT_MDL_D00044487
•                                   Case: 1:17-md-02804-DAP Doc #: 2384-12 Filed: 08/14/19 49 of 60. PageID #: 391807
            RUN ON 09/02/07 AT 03:56: 25                       W A L - M A R T S T D R E S,   I NC.                             REPORT ND. SD405-1                          •
fj
            F"OR PERIOD ENDING 08/31 /07                    CONTROL DRUG STOCK EXCEPTION REPORT BY ITEM
                                                                    WAREHOUSE 06045 - BENTONVILLE, AR
                                                                                                                  QUANT ITY
                                                                                                                                PAGE-NO.

                                                                                                                               STORE TOTAL
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      ITEM NO.     ITEM DESCRIPT ION       SIZE    RANK   STORE     DEA REG.    LOCATION               DISTRICT    P ICKED        PICKED         TOTAL
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                                   Case: 1:17-md-02804-DAP Doc #: 2384-12 Filed: 08/14/19 50 of 60. PageID #: 391808
             RUN ON 09/02/07 AT 03: 56:25                       W A L - M A R T S T O R E 8,   I N C.                     REPORT NO . SD405-1                     •
•
             FOR PERIOD ENDING 08/31/07                     C0tJTRDL DRUG STOCK EXCEPTION REPORT EV ITEM
                                                                     WAREHOUSE 06045 - BENTONVILLE, AR
                                                                                                             QUANTITY
                                                                                                                          PAGE-NO.

                                                                                                                        STORE TOTAL
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CONFIDENTIAL                                                                                                                                      WMT_MDL- 000044489
•e                             Case: 1:17-md-02804-DAP Doc #: 2384-12 Filed: 08/14/19 51 of 60. PageID #: 391809
           RUN ON 09/02/07 AT 03 : 56:25
           FOR PER IOD ENDING 0 8/31 /07
                                                                  w A L - M A R r S T O R E S, I NC.
                                                               CONTROL DRUG STOCK EXCEPTION REPORT EY ITEM
                                                                       WAREHOUSE 060 45 - BENTONVILLE, AR
                                                                                                                                            REPORT NO. 5 D40 5-1
                                                                                                                                            PAGE-NO.         185
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                                                                                                                                GUANTITY   STORE TOTAL    PCT OF
           NO.    ITEM DESCRI PTION        SI Z.E   RANK   STORE               DEA REG.  LOCATION               DISTRICT         PICKED       PICKED      TOTAL

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     003 880973   DEXEDRINE iOMG SPAN      iOO        1    5110                                                    024             500        130,889       . 38
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                                  Case: 1:17-md-02804-DAP Doc #: 2384-12 Filed: 08/14/19 52 of 60. PageID #: 391810
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             RUN ON 09/02/07 AT 03 : 56 : 25                        WAL-MAR T S T O R E S,           I N C.                           REPORT NO. SD405-1

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             FOR   P ERIOD ENDING 08/ 3i /07                     CONTROL DRUG S TOCK EXC EPTION REPORT BY ITEM                        PAGE-NO.       186
(~                                                                       WAREHOUSE 06045 - BENTONV I LLE, AR
                                                                                                                       GUANTITV     STORE TOTAL     PCT or
        ITEM NO.   ITEM DESCRIPTION            SIZE   RANI.I.   STORE    DEA REG.   LOCATION              DISTRICT      PICKED         P ICKED      TOTAL
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       003881106   OXYCONT IN CIR 20MG         100       1      3846                                         281           200          19, 380      t.   03
                                                         2      4729                                         224           400          78,604        .   51
f~                                                       3      4786                                         276           500         112,929        .   44                  ~
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                                                       11       6671                                         286           200          72,736        .   27                  ~
                                                       12       4318                                         1 13          200          75,971        .   26
                                                       13       6655                                         2 24          400         153,340        . 26
                                                       14       1870                                         209           600         239,06 7       .   25
~                                                      15       6337                                         286           400         161 ,861       .   25                  @
                                                       16       6652                                         224           200          82,315        .   24
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(~                                                     19       3496                                         061           400         168,940        .   24                  @
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       003881113   OXYCONTIN C/R 40MG          100       1      8167                                         256             600         93, 902      .   64
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                                                       21       2275                                         041             700       229, 473       . 31
                                                       22       6338                                         259             100         32,919       . 30
~                                                      23       2660                                         250             300       100,281        . 30                    0
       003881120   OXYCONTIN CIR 80MG          100       1      2960                                          197        2,900         164,416       1 76
                                                         2      2949                                          239        1, 100        128,224        . 86
~                                                        3      1760                                          173        1 ,800        210, 370       . 86                    0
                                                         4      3357                                          064           900        167,448        . 54
                                                         5      8167                                          256           500         93,902        . 53
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~                                                      11       5374                                          065           900        214,947        . 42                    0
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                                                       13       2778                                          050           700        178 ,961       . 39
                                                       14       4729                                          224           300         78,604        . 38
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CONFIDENT IAL                                                                                                                                                  WMT_MDL_000044491
•                                     Case: 1:17-md-02804-DAP Doc #: 2384-12 Filed: 08/14/19 53 of 60. PageID #: 391811
              RUN ON 09/02/07 AT 03:S6:2S                            W A L - M A R T S T 0 R E S,   ! N C.                        REPORT NO. 5D40S- l                       •
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              FOR  PERIOD ENDING 08/31/07                         CONTROL DRUG STOCK EXCEPTION REPORT BY ITEM
                                                                          WAREHOUSE 06045 - BENTONVILLE, AR
                                                                                                                     QUANTITY
                                                                                                                                  PAGE-NO .

                                                                                                                                STORE TOTAL
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                      I TEM DESCRIPTION           SIZE   RANK   STORE     DEA REG.   LOCATION            DISTRICT     PICKED       PI Cl-(ED     TOTAL

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                                     Case: 1:17-md-02804-DAP Doc #: 2384-12 Filed: 08/14/19 54 of 60. PageID #: 391812
i)                                                                                                                                                                           tll
               RUN ON 09/0';;,.!/07 AT 03 : 56:25                        W A L - M A R T S T 0 R E S,    I N C.                      REPORT NO.    SD405- l
               FOR PER r □ D ENDING 08i31/07                          CONTROL DRUG STOCK EXCEPTION REPORT DY ITEM                    PAGE-NO.             188
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                                                                              WAREHOUSE 0604S - 13HITDNVILLE, AR                                                             d)
                                                                                                                       QUANTITY    STORE TOTA L    PCT OF
                       I TEM DESCRIPTION                   RANV,.   STORE    DEA REG .                      DISTRICT    PICKED        PICKED       TOTAL
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        ITEM NO .
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                                                    SIZE
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       003881148       HYDROMORPHONE BMG            100       1     6321                                       256       1,000        112, 014       . 89
                                                              2     3516                                       238         500         65,467        . 76
~                                                             3     2556                                       143       1,300        241,451        . 54                    G'I
                                                              4     4947                                       222         200         38 , 505      . 52
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                                                            14      3861                                       050         100         37,422        .27
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       003881162       R IT AUN LA 30MG             100       1      3316                                      237         300         71+,905       . 40
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                                                            17       3868                                      144         200        186,168        . 11
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                                       Case: 1:17-md-02804-DAP Doc #: 2384-12 Filed: 08/14/19 55 of 60. PageID #: 391813
           RUN ON 09/02 / 07 AT 03:56 : 25                        ~I A L -· M A R T  5 T D R E S,  l N C.                        REPORT NO. 80405- 1 ·                    •
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                                                                                    EXCEPTION REPORT BY ITEM
                                                                                                                                                                          •
           FOR PERIOD ENDING 08 / 31/07                        CONTROL DRUG STOCK                                               PAGE-NO .            189
                                                                         WAREHOUSE 06045 - BENTONVILLE, AR
                                                                                                                    GUANTiTY   STORE TOTAL    PCT   Di"

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      iTHI NO.    ITEM      DESCR IPTI Oil.I   SIZE   RANK   STORE   DEA REG.       LOCATION             DISTRICT    PICKED       PICV1ED     TOTAL
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     OD388ii69    METHADONE iOMGiSML           soo      i    2542                                           236      8,500        i88, 167     4. 52


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                                                        3    3455                                           116        500         41, 596     1. 20
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•    003881176    METHADONE         SMGiSML    500      1
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     00388ii83                        15MG     100      i    2172
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                                    Case: 1:17-md-02804-DAP Doc #: 2384-12 Filed: 08/14/19 56 of 60. PageID #: 391814
              RUN ON 09/02/ 07 AT 03 : S6 : 2S
              FOR FER I OD ENDJNG 08i 3 1/07
                                                                    W A l_ - M A R     S T 0 R E S,     I N C
                                                                 CONTROL DRUG STOC~,' EXCEPTION REPORT BY HEM
                                                                                                                                         REPORT NO .
                                                                                                                                         P.:.GE-NO .
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•                                                                         WAREHOUSE 06045 -  BENTON\.' ILLE, AR
                                                                                                                            QUANTITY   STORE TOTAL     PCT OF"
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       Od3881197
                     ITEM DESCRIPTION
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                                                          4     5144                                                216       1,500       282,034        . 53
                                                          5     2047                                                097       2,000       388,034        . 52
                                                          6     1608                                                069       2,000       405,714        . 49
                                                          7     1879                                                154       1,500       314,815        . 48                     @
                                                          8     3377                                                064       1,000       219 , 237      . 46
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                                       Case: 1:17-md-02804-DAP Doc #: 2384-12 Filed: 08/14/19 57 of 60. PageID #: 391815
•              RUN ON 09/02/07 AT 0 3 : 56 :25                         wA L - MA R TS T O R E S,  I NC .                         REPORT NO. SD405-l
                                                                                                                                 PAGE-NO        191
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               FOR  PERIOD ENDING 08/31/07                     CONTROL DR UG STOCK EXCEPTION REPORT BY ITEM
                                                                       WAREHOUSE 06045 - BENTONV ILLE, AR
                                                                                                                    QUANTITY    STORE TOTAL      PCT OF
                                                        RANK STORE                                       DISTRICT    P ICKED       PI CKED       TOTAL

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          ITEM ND.   l TEM DESCRIPTION           SIZE                   DEA REG.   LOCATION
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     0038812 3;"2    ADDERALL XR iOMG            100      i   6338                                          259          200         32,919        . 61
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                                                          9   3758                                          205          100        23,567         . 42
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                                                         11   3400                                          131          200        4 9 ,885       .   40                    ~
                                                         12   5202                                          208          300        77, 183        .   39
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                                                         17   5090                                          251          80 0      234,781         . 34
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•    003881246       ADDERALL XR 30MG            100
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                                     Case: 1:17-md-02804-DAP Doc #: 2384-12 Filed: 08/14/19 58 of 60. PageID #: 391816
;j                                                                                                                                                                             ~
             RUN ON 0 9/02 / 07 AT 0 3 : 56 : 2 5                      W A L - M A R T S T ORES,      I NC .                          REPORT NO.   S0405- 1
             FOR PERIOC- ENDI NG 08 / 31/07                         CONTROL DRUG STOCK EXCEPTION REPORT BY ITEM                       PAGE-NO.         192
t,                                                                          WAREHOUSE 06045 - BENTONVILLE , AR                                                                 @
                                                                                                                          QUANTITY   STORE TOTAL   PCT OF
                    ,TEM DESCRIPTION                SIZE   RANK   STORE    DEA REG .      LOCATI ON            DISTRICT    PICKED       PICKED     TOTAL
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      003881253     MORPHINE SOLUTB 10MG            100      1    2764                                            134        700       317,751       _ 22
                                                             2    1621                                            134        400       207,321       .   19
                                                             3    2307                                            024        400       252,556       .   16                    (;I
Ci                                                           4    1267                                            189        300       221. 133      .   14
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i·~           RUN ON 09/02/07 AT
                                    Case: 1:17-md-02804-DAP Doc #: 2384-12 Filed: 08/14/19 59 of 60. PageID #: 391817
                                   03 : 56;25                      W A L - M A R T S T O R E S,     I N C,                       REPORT NO.    SD40S-1                   •
 e
              FOR    PERIOD ENDING 08/31/07                     CONTROL DRUG STOCK EXCEPTI Ot~ REPORT BY ITEM
                                                                        WAREHOUSE 0604S - BENTONVILLE, AR
                                                                                                                    QUANTITY
                                                                                                                                 PAGE-ND.

                                                                                                                               STORE TOTAL
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           RUN ON 09/02/07 AT 0 3 : 56 : 2 5                                 W A L -   M A Fl T   8 T O R E S,   I   N C                       REPOR T NO.   8 D40 5- i
           FOR PER I OD EN DING 0 8 / 31 / 0 7                        CONTR OL DRUG STOCK EXr EPTION REPORT BY ITEM                            PAGE-NO .             194
                                                                               WAREHO USE 0 6 045 - BENTONVILLE, AR


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CONFIDENTIAL                                                                                                                                                             WMT_MDL_000044499
